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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      PIKEVILLE


UNITED STATES OF AMERICA,                            CRIMINAL NO. 7:19-15-KKC
       Plaintiff,

V.                                                             ORDER

SAMANTHA MOORE,
       Defendant.



                                       *** *** ***

     This matter was referred to the Magistrate Judge for the purposes of conducting

rearraignment proceedings for the above Defendant. The Magistrate Judge has filed a

Recommendation that the Court accept the Defendant's guilty plea and that the defendant

be adjudged guilty of Count 61 of the Indictment. (DE 54 at 2.) No objections have been

filed and, having reviewed the record, the Court finds that the Magistrate Judge satisfied

all requirements of Federal Rule of Criminal Procedure 11 and the United States

Constitution.

     Accordingly, the Court hereby ADOPTS the Magistrate Judge’s Recommendation. (DE

54.) The Court ACCEPTS the Defendant's plea of guilty and enters a finding of guilty for

the Defendant as to Count 61 of the Indictment.

     Dated April 17, 2020.
